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                       IN THE UNITED STATES DISTRICT COURT FOR
                         THE NORTHERN DISTRICT OF OKLAHOMA

   MARILYN PHILLILPS,                            )
                                                 )
                           Plaintiff,            )
                                                 )
   v.                                            )              Case No. 17-CV-547-JED-JFJ
                                                 )
   FARMERS INSURANCE                             )
   COMPANY, INC.,                                )
                                                 )
                           Defendant.            )

        PLAINTIFF'S SECOND SUPPLEMENTAL REQUESTED JURY INSTRUCTIONS

          The Plaintiff submits the following supplemental requested jury instruction. The purpose

  of the supplemental instruction is to tell the jury the life expectancy of the Plaintiff.

          Plaintiff proposes the requested instruction be given after the Court gives the “Issues in the

  Case” Instruction.

                                                                  Respectfully Submitted:


                                                          By:     s/Anthony M. Laizure
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                                  CERTIFICATE OF SERVICE

          The undersigned does hereby certify that on the 19th day of June, 2019, I electronically
  transmitted the attached document to the Clerk of Court using the ECF System for filing. Based
  on the records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
  the following ECF registrants:

  Robert Taylor
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                                                       s/Anthony M. Laizure
                                                       Anthony M. Laizure




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        PLAINTIFF’S SUPPLEMENTAL REQUESTED JURY INSTRUCTION NO. 9

          According to life expectancy tables, the life expectancy of a female person of the age of 66

  years is 86.8 years. This figure is not conclusive. It is the average life expectancy of persons who

  have reached that age. This figure may be considered by you in connection with other evidence

  relating to the probable life expectancy of Plaintiff, including evidence of her occupation, health,

  habits and other activities.




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